                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   Case No. 5:24-CV-00731-M



  JUDGE JEFFERSON GRIFFIN,

                 Plaintiff,                                                 ORDER

                     V.

  NORTH CAROLINA STATE BOARD OF
  ELECTIONS,

                Defendant.


       This matter comes before the court on Plaintiff Jefferson Griffin's motions for temporary

restraining order [DE 1-5; DE 1-9; DE 1-13]. The court has reviewed the filings in this case and

finds that the factual and legal subject matter of this action is substantially identical to that in

Jefferson Griffin v. North Carolina State Board of Elections, et al., Case No. 5 :24-CV-00724-M.

Having concluded in that case that abstention and remand under Burford and Louisiana Power is

warranted, see Case No. 5:24-CV-00724-M, DE 50, the court finds that conclusion operates with

equal force here. Accordingly, the court sua sponte remands this matter to the Superior Court for

Wake County.



       SO ORDERED this        b
                               k day of January, 2025.


                                         ~                    z_M'f-"'Vs~
                                              RICARDE. MYERS II
                                              CHIEF UNITED STATES DISTRICT JUDGE



      Case 5:24-cv-00731-M-RJ          Document 24        Filed 01/06/25      Page 1 of 1
